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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     Case No. 1:07-cr-213-02
v.
                                                     HONORABLE PAUL L. MALONEY
REGINALD J. BLAND,

                  Defendant.
_________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Reginald J. Bland has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       Defendant’s original guideline range was 324 to 405 months. Defendant was sentenced,

however, to 144 months imprisonment pursuant to a Rule 11(c)(1)(C) cooperation agreement

with the government that capped his possible sentence at 144 months without regard to the

guideline range. After the granting of a motion to vacate, set aside, or correct sentence pursuant
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to U.S.C. 28 § 2255, a second sentencing hearing was held and defendant’s sentence was reduced

to 132 months. After application of Amendment 782, the applicable guideline range for this

defendant becomes 262 to 327 months.

       The defendant is not entitled to the relief he seeks. The Court cannot grant a motion to

reduce sentence when the original sentence was not based on the applicable guideline range, but

on an express stipulation in the plea agreement pursuant to Rule 11(c)(1)(C). See Freeman v.

United States, 131 S. Ct. 2685 (2011) Accordingly,

       IT IS HEREBY ORDERED that Defendant Reginald J. Bland’s motion modification of

sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 505) is DENIED.




Date: October 16, 2015                        /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             United States District Judge
